           Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 1 of 7



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


ANTHONY MARCANTONI,             *
                                *
               Plaintiff,       *
     v.                         *
                                *   Civil Action No.: 8:18-CV-00134
                                *
POLICE COMMISSIONER             *
FREDERICK H. BEALEFELD, et al., *
                                *
               Defendants       *
*    *   *     *     *      *   *   *      *     *      *     *     *
    REPLY IN FURTHER SUPPORT OF DEFENDANTS’ MOTION FOR
                          SUMMARY JUDGMENT

      Defendants, by and through their undersigned counsel, submit this reply in

further support of their motion for summary judgment.

                                       ARGUMENT

      I.       PLAINTIFF STILL CANNOT OFFER EVEN ONE CASE STATING
               THAT USING A CELL SITE SIMULATOR TO OBTAIN A CELLPHONE’S
               SERIAL NUMBER IS A FOURTH AMENDMENT SEARCH.

Defendants stated in their memorandum in support of their motion for summary

judgment: “Despite this litigation being about whether the use of cell site simulator

to obtain a cellphone’s serial number violates the Fourth Amendment,1 Plaintiff offers

not one case supporting his assertion that such use of the device is even a search, let

alone a search violating the Fourth Amendment.” (ECF No. 117-1 at 5–6.) Given the

chance to provide any case law whatsoever to refute this assertion, Plaintiff offers




1 ECF No. 115-1 at 16.
        Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 2 of 7



nothing, instead relying on arguments that would be at home in a policy statement

or a law review article or even a challenge to evidence in a criminal case.

      Plaintiff’s only attempt to provide this Court with any case law is the

statement that “Federal courts have already determined that CSS technology

implicates ‘individuals’ reasonable expectation of privacy in information about

constitutionally protected areas that otherwise could not be obtained without a search

warrant,’” citing and quoting one single federal case, a district court opinion from the

District of Columbia, In re Use of a Cell-Site Simulator to Locate a Cellular Device,

531 F.Supp. 3d 1(D.D.C. 2021). (ECF No. 118 at 9.) But that case, like every other

case cited by Plaintiff either in opposition to Defendant’s motion or in support of

Plaintiff’s motion for summary judgment, is not about what was done here: use the

device to merely obtain a cellphone’s serial number. Instead, it was about “us[ing]a

cell-site simulator for 30 days in an effort to locate a specified cellphone number

associated with a fugitive.” 531 F. Supp. 3d at 3.

      Plaintiff attempts to salvage this absence of any supporting authority by first

spending two paragraphs (ECF No. 118 at 3–4) explaining that “courts have found

that concern lies in the fact that CSS devices reveal information about many persons

other than the suspects at issue” and that “this warrantless use of technology also led

to the identification of phones belonging to others that were then wiretapped and

resulted in the collection of information further implicating Plaintiff in the crimes




                                           2
         Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 3 of 7



being investigated.” (ECF No. 118 at 9–10.)2 But these concerns are not relevant to

determining liability based on what actually happened in this litigation and Plaintiff

does not cite any legal authority to the contrary.

       Plaintiff also claims, with no citation to the record, that the device “was used

to identify personal property in Plaintiff’s possession, seize that property and search

it for unique identifying information.” (ECF No. 118 at 10. Not only is this assertion

unsupported by the record (Plaintiff does not cite the record), it is false. The device

was used for nothing more than to identify Plaintiff’s telephone. (ECF No. 117 at 4.)

Further evidence was obtained, not by the device, but through a wiretap (as Plaintiff

himself asserts)3 and a search and seizure warrant. (Ex. A.)4

       Plaintiff then spends the better part of six pages (ECF No. 188 at 4–9)

complaining that “Defendants”5 did not tell the state court judge who approved the




2 What was done to others, even if true, is also irrelevant to whether Defendants have

liability in this case. This is not a class action and Plaintiff lacks standing to “rest his
claim to relief on the legal rights or interests of third parties.” Warth v. Seldin, 422
U.S. 490, 498–99 (1975). And as to the Fourth Amendment in particular, in Rakas v.
Illinois, 439 U.S. 128, 140 (1978) the Supreme Court recognized its “long history of
insistence that Fourth Amendment rights are personal in nature.” See also Howerton
v. Fletcher, 213 F.3d 171, 173–74 (4th Cir. 2000) (“to recognize the risk posed to third
parties by the official use of force as a component of the excessive force inquiry would
be, in effect … to afford the section 1983 plaintiff standing to seek and obtain relief
for the unreasonable use of force against third parties”).
3 “It is clear from these documents that the use of CSS technology led to wiretaps of

phones in the possession of specific targets. The information from these wiretaps were
then used to develop the case against Plaintiff.” (ECF No, 118 n.12.)
4 Defendant also conceded in the criminal case that search warrants were used to

seize his property and that a wiretap was used to monitor phone conversations. See
United States v. Marcantoni, 8:10-cr-00777-DKC, ECF No. 996 at 11.
5 Plaintiff cites no support in the record that both Defendants were involved in

obtaining the court order authorizing the device. See infra p. 5.
                                             3
         Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 4 of 7



use of the device that the device was called a cell site simulator and did not tell the

judge everything about how this device operates or what it is capable of. But Plaintiff

never explains why this is relevant to determining the liability of these two

Defendants. Plaintiff even implicitly admits the academic nature of the discussion

with a footnote: “As an aside, one does not need a case directly on point to know that

concealing information from a judge … to utilize [cell site simulator] technology to

investigate the Plaintiff is wrong.” (ECF No. 118 at 9 n.31.) Right or wrong is not the

standard for liability; it is a standard for policy makers, professors and philosophers

to debate. Tellingly, Plaintiff cites no case law or any other legal authority to support

the notion that merely withholding information from a judge to obtain a search

warrant or other authorization to conduct a search violates the Fourth Amendment,

and Defendants are unaware of any. Misleading a magistrate to authorize a search

or seizure is only relevant if the search or seizure itself violates the Fourth

Amendment. See Miller v. Prince George’s Cnty., MD, 475 F.3d 621, 628 (4th Cir.

2007) (“in order to violate the Constitution, the false statements or omissions must

be ‘material,’ that is, ‘necessary to the [neutral and disinterested magistrate’s] finding

of probable cause.’”) (quoting Franks v. Delaware, 438 U.S. 154, 155–156 (1978)). If

one takes away the deception and the search itself is constitutional then the deception

is irrelevant. See Miller, 475 F.3d at 628 (“If the “corrected” warrant affidavit

establishes probable cause, no civil liability lies against the officer.”). And Plaintiff

points to no case law whatsoever stating that the use of cell site simulator to obtain

a phone number—which is all that was done here— is even a search under the Fourth



                                            4
         Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 5 of 7



Amendment, let alone an unreasonable search that violates the Fourth Amendment.

Therefore what a judge knew or didn’t know is irrelevant to determining liability for

the use of the device.

      II.    PLAINTIFF HAS CONCEDED THE ARGUMENT THAT NEITHER
             DEFENDANT VIOLATED THE FOURTH AMENDMENT BECAUSE
             NEITHER USED THE DEVICE.

As Defendants have explained, even if the use of a cell simulator to acquire a serial

number were a search under the Fourth Amendment, neither Detective Sodd nor

Detective Toland used the device (ECF No. 115-6 at 119; ECF No. 115-7 at 50) and

are thus entitled to judgment on this additional ground. Plaintiff has not responded

to this argument. Accordingly, Plaintiff has conceded the argument and Defendants

are entitled to judgment on this ground. See, e.g., Jeffries v. Berk Family Tr., No.

GJH-20-365, 2022 WL 214038, at *4 (D. Md. Jan. 25, 2022) (“Plaintiff's Opposition

ignores Defendant's statute of limitations argument and fails to address the issue. …

In failing to respond, she has conceded that her negligence claim is time barred.”);

McRae v. Westcor Land Title Ins., No. RWT-16-2332, 2017 WL 1239682, at *3 (D. Md.

Mar. 17, 2017) (by failing to respond to argument in a dispositive motion, a plaintiff

concedes her claim); Stenlund v. Marriott Int’l, Inc., 172 F. Supp. 3d 874, 887 (D. Md.

2016) (“In failing to respond to [defendant’s] argument, Plaintiff concedes the point.”).

Defendants also pointed out that Detective Toland not only did not use the device he

had no involvement in obtaining the court order authorizing the use of the device.

(ECF No. 117 at 20.) He therefore could not have done anything to violate the Fourth

Amendment. Plaintiff has no response and thus concedes this argument as well.



                                           5
        Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 6 of 7



      III.   PLAINTIFF MAKES NO CREDIBLE ATTEMPT TO ARGUE AGAINST
             QUALIFIED IMMUNITY.

As Defendants asserted, “Qualified immunity attaches when an official's conduct does

not violate clearly established statutory or constitutional rights of which a reasonable

person would have known.” White v. Pauly, 137 S.Ct. 548, 551 (2017) (per curiam)

(internal quotation marks omitted). (ECF No. 117 at 21.) Plaintiff concedes as much

and then asserts that “courts examine cases of controlling authority in the relevant

jurisdiction—that is, decisions of the Supreme Court, this court of appeals, and the

highest court of the state in which the case arose.” (ECF No. 118 at 12.) (internal

quotation and citations omitted). Plaintiff then proceeds to cite no such cases showing

that the use of a cell site simulator to obtain a cellphone number is a search violating

the Fourth Amendment; Plaintiff cites no cases at all in his entire “argument” against

qualified immunity. Plaintiff does not even respond to Defendants’ argument that it

was not clearly established that using a cell site simulator as it was used in this case

would violate the Fourth Amendment, thus conceding the argument. Plaintiff instead

characterizes Defendants’ “actions” as “presenting information known to the

Defendants to be incomplete and incorrect” with no mention at all of how the device

was actually used in this case. (ECF No. 118 at 12.) But, as explained above, merely

providing “incomplete and incorrect” information to a judge does not violate the

Fourth Amendment, in the absence of a search or seizure violating the Fourth

Amendment. Therefore it cannot be clearly established that withholding information

alone violates the Fourth Amendment.




                                           6
        Case 8:18-cv-00134-PX Document 119 Filed 02/06/24 Page 7 of 7



                                     CONCLUSION

This litigation is a civil action for damages alleging a violation of the Fourth

Amendment. It is not part of a criminal case seeking to suppress evidence obtained

in violation of the Fourth Amendment or seeking to overturn a criminal conviction

and it is not a class action. The only question at issue is whether what was actually

done in this case—using a cell site simulator to obtain the serial number of a phone—

violates the Plaintiff’s rights under Fourth Amendment. On that score, Plaintiff has

nothing substantive to say. For the reasons stated, judgment should be entered in

favor of Defendants.


                                       Respectfully submitted,


                                                    /s/
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